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               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF VIRGINIA
                    CHARLOTTESVILLE DIVISION


UNITED STATES OF AMERICA                )
                                        )        Case No. 3:02CR00053
v.                                      )
                                        )        OPINION AND ORDER
GARY LAMONT BATTLE,                     )
                                        )        By: James P. Jones
                         Defendant.     )        Chief United States District Judge

      On December 3, 2003, the court sentenced the defendant in connection with a

crack cocaine conviction. In so doing, the court considered the federal sentencing

guidelines as required under 18 U.S.C. § 3553(a).

      Pursuant to its statutory authority, the United States Sentencing Commission

has amended the federal advisory sentencing guidelines applicable to criminal cases

involving cocaine base or crack cocaine, effective November 1, 2007. On December

11, 2007, the Sentencing Commission further decided that, effective March 3, 2008,

the amended guideline provisions will apply retroactively to offenders who were

sentenced under prior versions of the sentencing guidelines, and who are still

incarcerated. Stated generally, the practical effect of the Sentencing Commission’s

actions is that certain federal defendants convicted of offenses involving crack

cocaine may be eligible for a reduction in their current sentences, pursuant to the

provisions of 18 U.S.C. § 3582(c)(2).
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      On March 6, 2008, the court received a letter from the defendant which the

court treated as a Motion to Reduce Sentence pursuant to § 3582(c)(2).

      Having considered the defendant's Motion to Reduce Sentence, the court

concludes that the motion must be denied. The defendant plead guilty to conspiracy

to distribute crack cocaine, in violation of 21 U.S.C. § 846. The defendant was held

responsible for at least 35 grams, but less than 50 grams, of crack cocaine. Under the

amended guidelines, the defendant's base offense level is 28.            However, the

defendant's criminal history as detailed in the Presentence Investigation Report

submitted to this court, indicates that the defendant is a career offender as defined in

USSG § 4B1.1. Accordingly, his offense level is determined by reference to the table

contained in that section. Therefore, the defendant's base offense level is 34. He

received a three-level reduction for acceptance of responsibility, giving him a Total

Offense Level of 31. Because he is a career offender, his Criminal History Category

is VI. Thus, the amended guidelines recommend a term of imprisonment between

188 and 235 months, the same as at the defendant's original sentencing. The

defendant, however, was sentenced to 90 months imprisonment, pursuant to a

Substantial Assistance Motion. Because the recommended guideline range has not

changed, this court will not further reduce the defendant's sentence.

      Accordingly, it is ORDERED that the defendant’s Motion to Reduce Sentence

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(Doc. No. 108) is DENIED.

      The Clerk will send copies of this order to the defendant at his place of

confinement and to the United States Attorney's Office.

                                              ENTER: March 13, 2008

                                               /S/ JAMES P. JONES
                                              Chief United States District Judge




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